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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
-------------------------------------------------------
                                                      :
SNAP-ON BUSINESS SOLUTIONS, INC., :                                  CASE NO. 5:09CV01547
                                                      :
         Plaintiff,                                   :
                                                      :
vs.                                                   :              JUDGMENT
                                                      :
O’NEIL & ASSOCIATES, INC.,                            :
                                                      :
-------------------------------------------------------

JAMES S. GWIN, UNITED STATES DISTRICT JUDGE:



        This action came before the Court and a jury. The jury rendered the following verdict on

May 19, 2010:

        1) verdict in favor of Plaintiff Snap-On Business Solutions, Inc., and against Defendant

O’Neil & Associates, Inc., in the amount of $658,000.00.

        This Judgment is hereby entered pursuant to Federal Rule of Civil Procedure 58 and this case

is terminated.

        IT IS SO ORDERED.



Dated: May 24, 2010                                             s/       James S. Gwin
                                                                JAMES S. GWIN
                                                                UNITED STATES DISTRICT JUDGE




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